    PROB 12C
    (REV. 12/04)

                                    UNITED STATES DISTRICT COURT
                                                                 For

                                               WESTERN DISTRICT OF TEXAS


                      Petition for Warrant or Summons for Offender Under Supervision

       Name of Offender:      Aaron Keith Avery                                    Case Number:       SA19CR0832
       Name of Sentencing Judicial Officer:        Honorable Nelva Gonzales Ramos, United States District Judge
       Date of Original Sentence:      June 27, 2019
       Original Offense:      Count 1: Transportation of an Undocumented Alien, in violation of 8 U.S.C. §§ 1324(a)(1)(A)(ii),
                              1324(a)(1)(A)(v)(II), and 1324(a)(1)(B)(ii); Count 2: Transportation of an Undocumented Alien,
                              in violation of 8 U.S.C. §§ 1324(a)(1)(A)(ii), 1324(a)(1)(A)(v)(II), and 1324(a)(1)(B)(ii)
       Original Sentence:     A total of Eight (8) months imprisonment on both Count 1 and Count 2, the term to be served
                              concurrently; followed by Three (3) years supervised release on Count 1 and Count 2, the terms
                              to be served concurrently.
      Type of Supervision: Supervised Release                  Date Supervision Commenced:         September 5, 2019
       Assistant U.S. Attorney:     Sarah Wannarka                       Defense Attorney:      Lila Michelle Garza

                                                  PREVIOUS COURT ACTION

    On November 19, 2019, Transfer of Jurisdiction was filed from the Southern District of Texas, Corpus Christi Division, to
    the Western District of Texas, San Antonio Division.

    On November 19, 2019, a Probation Form 12A- Report on Offender Under Supervision was submitted to the Court due to a
    positive urine specimen test for marijuana. No adverse action was requested at that time and substance abuse treatment and
    weekly urinalysis were continued. On November 26, 2019, the Court concurred.

    On October 21, 2021, a Probation Form 12A- Report on Offender Under Supervision was submitted to the Court due to a
    positive urine specimen test for marijuana. No adverse action was requested at that time and random urinalysis testing was
    increased. On October 27, 2021, the Court concurred.

    On March 10, 2022, a Probation Form 12A- Report on Offender Under Supervision was submitted to the Court due to a
    positive urine specimen test for marijuana. No adverse action was requested at that time, and he was re-referred to substance
    abuse treatment and testing. On March 14, 2022, the Court concurred.


                                                  PETITIONING THE COURT
    ց To issue a warrant
    տ To issue a summons

    The probation officer believes that the offender has violated the following condition(s) of supervision:

    Violation       Nature of Noncompliance
N
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     1.        Mandatory Condition No. 2: The defendant must not unlawfully possess a controlled substance.

               Mandatory Condition No. 3: The defendant shall refrain from any unlawful use of a controlled
     2.        substance. The defendant shall submit to one drug test within 15 days of release on probation or
               supervised release and at least two periodic drug tests, thereafter, as determined by the court.

               Special Condition: The defendant may not possess any controlled substances without a valid
     3.
               prescription. If you do have a valid prescription, you must follow the instruction on the
               prescriptions.

    4.         Special Condition: The defendant must submit to substance-abuse testing to determine if you have
               used a prohibited substance, and you must pay the costs of the testing if financially able. You may
               not attempt to obstruct or tamper with the testing methods.

     5.        Special Condition: The defendant shall not knowingly purchase, possess, distribute, administer, or
               otherwise use any psychoactive substances including synthetic marijuana, bath salts, that impair a
               person’s physical or mental functioning, whether or not intended for human consumption, except
               as with the prior approval of the probation officer.

               On September 27, 2019, the offender submitted a urinalysis which tested positive for marijuana. He
               admitted drug use to the probation officer and signed the Admittal/Denial form.

               On October 6, 2021, he submitted a urinalysis which tested positive for marijuana. He admitted drug use
               to the probation officer and signed the Admittal/ Denial form.

               On February 22, 2022, he submitted a urinalysis which tested positive for marijuana. He admitted to
               smoking a vape containing cannabinoids.

               Mr. Avery additionally submitted positive urine specimens for marijuana on the following dates: March
               22nd, March 28th, March 29th, April 11th, April 28th, May 13th and May 31, 2022. He denied any drug use
               or using a vape containing cannabinoids.

               The offender failed to submit to random urinalysis testing on the following dates: September 20, 2019,
               January 29, 2020, February 18, 2020, January 27, 2022, March 21, 2022, May 18, 2022, and June 9, 2022.



U.S. Probation Officer Recommendation:

Mr. Avery is a Criminal History Category of II. He began using illegal substances at the age of fifteen and admits having
abused marijuana. On September 14, 2018, he was arrested by United States Border Patrol agents for the instant offense. On
September 20, 2018, he was released on a $25,000 bond with a $500.00 cash deposit. On November 27, 2018, he tested
positive for amphetamine and admitted to the U.S. Pretrial Officer he had taken Tylenol with codeine for his migraine
headaches. On January 9, 2019, a Petition for Action on Conditions of Pretrial Release was submitted to the Court alleging
the positive urine specimen, which tested positive for methamphetamines. A warrant was issued on January 10, 2019, and
Avery was arrested on January 11, 2019
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On September 5, 2019, Mr. Avery commenced his supervised release. He was referred to substance abuse treatment with
Treatment Associates. On September 27, 2019, Mr. Avery tested positive for marijuana. He admitted to drug use and signed
the Admittal form. The Court was notified, and he was continued in treatment. In February 2020, he completed treatment.
On October 6, 2021, he tested positive for marijuana. He admitted to drug use and signed the Admittal form. The Court was
notified, and random urinalysis were increased. On February 22, 2022, he tested positive for marijuana. He admitted to
smoking a cannabidiol vape. He was referred to Lifetime Recovery for outpatient treatment and testing. Since that time, the
following urine specimens have tested positive for cannabinoid: March 22nd, March 28th, and March 29, 2022; April 11th
and April 28, 2022; and May 13th and May 31, 2022. He has denied using marijuana or a vape containing cannabinoids.
An Interpretation Report was received from the National Laboratory, indicating there was an increase of marijuana/Delta 9
THC use between urine specimens dated March 22, 2022, and March 29, 2022. Mr. Avery denied an increase of use since
February 22, 2022.

The offender has been provided the resources to address addictive patterns; however, he continues to use drugs and violate
his supervised release. It is respectfully recommended that a warrant be issued for his arrest and a hearing be held to show
cause as to why his term of supervision should not be revoked.
‫ ܈‬The term of supervision should be

      ց revoked. (Maximum penalty: Count 1 and Count 2: 2 years imprisonment; Count 1 and Count 2: 3 years
       supervised release; less any term of imprisonment at sentencing; and payment of any unsatisfied monetary sanction
       previously imposed)
         տ extended for __ years, for a total term of __ years.

         տ The conditions of supervision should be modified as follows:




Approved:                                                    Respectfully
                                                                        y submitted,,



Corrina Lopez                                                Cynthia Gonzalez
Supervising U.S. Probation Officer                           Senior U.S. Probation Officer
Telephone: (210) 472-6590, Ext. 5342                         Telephone: (210) 472-6590, Ext. 5379
                                                             Date: June 16, 2022




cc:     Sarah Wannarka
        Assistant U.S. Attorney

        Brenda Trejo-Olivarri
        Assistant Deputy Chief U.S. Probation Officer
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THE COURT ORDERS:

        տ           No action.
        X
        տ           The issuance of a warrant.

        տ           The issuance of a summons.

        տ
                    Other




                                                 ___________________________
                                                   Honorable Xavier Rodriguez
                                                        U.S. District Judge
                                                       June 17, 2022
                                                 ______________________________
                                                             Date
